            Case 4:23-cr-00450 Document 1 Filed on 09/26/23 in TXSD Page 1 of 8



AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                           United States Courts
                                                                                                          Southern District of Texas
                                                                 for the
                                                                                                                   FILED
                                                      Southern District of Texas
                                                                                                              September 26, 2023
                  United States of America                          )                                  Nathan Ochsner, Clerk of Court
                             v.                                     )
                   Carl Channing Spence                             )      Case No.    4:23-mj-1971
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)

                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   July 19, 2022                 in the county of             Chambers           in the
     Southern          District of            Texas             , the defendant(s) violated:
            Code Section                                                      Offense Description

18 u.s.c. 1343                                 Wire fraud




         This criminal complaint is based on these facts:
See attached affidavit from FBI Special Agent Brannon Coker.




         CJ Continued on the attached sheet.


                                                                                               Complainant's signature

                                                                                      Brannon Coker, Special Agent, FBI
                                                                                               Printed name and title

Sworn to and signed by telephone.


Date:      September 26, 2023
                                                                                                Judge's signature

City and state:                         Houston, Texas                        United States Magistrate Judge Sam S. Sheldon
                                                                                               Printed name and title
    Case 4:23-cr-00450 Document 1 Filed on 09/26/23 in TXSD Page 2 of 8


                                                                   4:23-mj-1971
 .AFFIDA VIT IN SUPPORT OF CRIMINAL COMPLAINT AND
                   ARREST WARRANT
       I, Brannon Coker, a Special Agent with the Federal Bureau of Investigation (FBI) being
duly sworn, hereby depose and state as follows:

        1.      I am a Special Agent with the Federal Bureau ofInvestigation (FBI) and have been
so employed since 2002. I am currently assigned to a white-collar crime squad. In my capacity
as an FBI Special Agent, I have personally investigated or assisted in investigating criminal matters
involving fraud, money laundering, and related offenses. Based on my training and experience as
an FBI Special Agent, I am familiar with the means and methods that criminals use to defraud
victims. I have also become knowledgeable about the criminal statutes of the United States,
particularly the statutes relating to wire fraud found in Title 18 United States Code 1343. I am
authorized under Title 28, United States Code, Section 533, to conduct federal criminal
investigations concerning any laws of the United States. Further, 18 U .S.c. § 3052 specifically
authorized special agents and officials of the FBI to make arrests, carry firearms and serve
warrants.

        2.       The facts in this affidavit come from my personal observations, my training and
experience, and information from other investigators, witnesses and documents. This affidavit is
intended to show merely that there is sufficient probable cause for the requested warrant and does
not set forth all my knowledge about this matter.
                       BACKGROUND AND EVIDENCE OF FRAUD

        3.    Starting at least as early as January 2022 and continuing through at least August
2023, CARL CHANNING SPENCE committed a scheme to defraud investors in order to obtain
investor money for his personal use. A review of documentary evidence and witness interviews
shows that SPENCE perpetrated his fraudulent scheme by, among other things:

           •   falsely representing that he was registered with the Securities and Exchange
               Commission ("SEC");

           •   diverting portions of investors' principal for personal expenses, or to pay previous
               investors; and

           •   providing fraudulent statements showing that investors' account balances had
               grown when, in truth, they were significantly (or nearly completely) depleted-
               either through investment losses or through SPENCE's personal misuse of funds.

      4.     These fraudulent statements, and others, induced investors to send SPENCE even
more money and to recruit additional friends and family members.
    Case 4:23-cr-00450 Document 1 Filed on 09/26/23 in TXSD Page 3 of 8




                                   Overview of Relevant Parties

       5.       SPENCE    resided in Dayton, Texas and operated a business called AEI Financial
from his residence.

       6.       SPENCE utilized the trading platform TradeStation to conduct day trading.
SPENCE commingled investor funds into a single account on TradeStation, meaning that he did
not allocate specific accounts for a particular investor.

      7.       Investor/Victim   J.C. resided       in Dayton,           Texas   and   invested   $300,000   with
SPENCE.

        8.     Investor/Victim A.M. resided in Cove, Texas (located within the Southern District
of Texas) and invested $500,000 with SPENCE.

        9.   Other investor/victims, including ones not specifically named in this Complaint,
provided SPENCE with money as part of this scheme. These payments continued until at least
August 2023.

            SPENCE    Makes Fraudulent       Statements        in Order to Solicit Investments

      J.C. - $300,000 Invested

        10.      J.C. and SPENCE became acquainted in early 2022 through a mutual friend. At
that time, SPENCE began to solicit J.C.to invest money with him. SPENCE held himself out to
be a broker who was registered with the Securities and Exchange Commission (SEC). In a text
message, SPENCE stated that '''my ssn and DBA' [are] registered with the SEC" and that he had
to "report to them all my trades it goes hand in hand with my taxes.,,1

                                          Carl Spence



                                              Are YOLI part of a firm or how
                                              are you structured?

                                       No I'm not apart of a finn I'rn
                                       "my ssn and DBA" is
                                       registered With the s.e.c. And
                                       I have to report to them all
                                       my tr<ldes it goes hand in
                                       hand with my taxes. I make
                                       all my trades currently
                                       through TradeStation cause
                                       It is a rilrect IInP




         This text message was submitted by J.e. as an exhibit to the lawsuit styled Crowder v. Spence,
Case No. 23-DCV-0266 (Chambers County District Court) (filed April 6, 2023). Both J.C. and A.M. are
plaintiffs in this lawsuit, and their attorneys provided evidence relevant to this investigation.

                                                        2
        Case 4:23-cr-00450 Document 1 Filed on 09/26/23 in TXSD Page 4 of 8




            11.   These statements were false. A search of the SEC's investment adviser public
   disclosure website for "Carl Spence" does not generate any results for SPENCE. A similar search
   for "Carl Spence" on FINRA's BrokerCheck website does not reveal any registration for
   SPENCE.

           12.   Relying on SPENCE'S representations, J.C. entered into his first "A.E.I. Financial
   Advisor Consulting Agreement" with SPENCE dated March 3, 2022, and invested $100,000 on
   or about March 7, 2022. The "A.E.I. Financial Advisor Consulting Agreement" reflected that
   SPENCE would invest the funds given to him and that J.C. would receive an "est[imated] 20-30%
   R.O.I." The agreement also provided that SPENCE's only compensation (other than referrals)
   would be a 10% monthly fee from any "gains," but only "as long as it meets the projected growth
   chart."

                 COMPENSATION

                The consideration for the Services provided, the Consultant is to be paid In the following
                 manner:

                        •     Other:
                              o A 10% charge will be taken monthly of any gains as long as it meets the
                                   projected growth chart
                              o    If services are deemed acceptable, client will refer new members to grow A.E.\.




            13.    An email obtained pursuant to a search warrant for the contents of SPENCE's
                 2
    email account shows that SPENCE emailed J.C. a fraudulent "A.E.!. Performance Update" on
    April 1, 2022. This "performance update" showed a starting balance of $100,000 and a current
    balance of $1 06,059.48.


                   From: Carl Spence <carlspencesfe@gmail.com>
                   Sent: Friday, April 1, 2022 4:09 PM
                   To: jeremy     crowder@ymail,com
                   SUbject:   AEI Update




~------~           I put in the request




 "Starting balance $lOO,OOO.oo·
                                           for $6,059.48

                                             ~
                                                           to be transferred


                                                                   Redacted
                                                                               out to send to you this coming   week.




 -Current balance SlO6,OS9048''




            During a September 14, 2023 interview, SPENCE confirmed that he used the email address
    carlspencesfe@gmail.com to solicit investors.

                                                                                 3
    Case 4:23-cr-00450 Document 1 Filed on 09/26/23 in TXSD Page 5 of 8




       14.    However, bank records indicate that, of the $100,000 SPENCE received from lC.,
only $63,000 was invested into TradeStation. Bank records further indicate that the rest ofJ.C. 's
money was utilized by SPENCE for personal expenses including child support payments, a home
mortgage payment, and a $20,000 cash withdrawal. TradeStation records indicate that on March
31,2022, SPENCE'S account balance was $0.66.

         15.    Over the coming months, lC. received multiple statements from SPENCE which
falsely indicated that his investment had grown. He also received several payments from SPENCE
that purportedly represented "ROI" payments from lC.'s investment growth. However, bank
records show that those payments were actually just money that SPENCE obtained from other
investors.

        16.    Based on the fraudulent statements that I.C. received-and the partial "ROI"
payments he received-J.C.     entered into another contract with SPENCE and invested an
additional $200,000 on or about October 10, 2022.

       17.   By October 31, 2022, the account balance for SPENCE'S account at TradeStation
was $370.85.

       A.M. - $500,000 Invested

       18.    A.M. was introduced to SPENCE through J.C .. As a result, A.M. was aware that
SPENCE sent J.C. account statements showing that his investment had grown. A.M. was also
aware that SPENCE had paid J.C. partial "ROI" payments.

       19.     A.M. entered into an A.E.!. Financial Investor Consulting Agreement with
SPENCE on or about July 18, 2022. On or about July 19,2022, A.M. transferred $500,000 to
SPENCE. That transfer was made via ACH from a Bank of America account in the name of
Trinspect Services LLC to SPENCE's account at Mobiloil Credit Union.

       20.   Just weeks later, on July 29, 2022, SPENCE emailedA.M.an "A.E.!. Performance
Update." This document showed a "starting balance" of $500,000 and current balance of
$508,455.80.




                                                4
       Case 4:23-cr-00450 Document 1 Filed on 09/26/23 in TXSD Page 6 of 8




                   Hey Carl,
                       Thanks for the update. It's great to see that there is progress. Please always bear in mind that in my instance,
                   as discussed, full investment   return in December Is of paramount      importance   to me.


                   On Frl, Jul 29, 2022 at 3:37 PM Carl Spence <carlspencesfe@gmall.com>wrote:
                     Good Afternoon     Mr, Redactedhere is the start of your weekly updates. Your funds cleared the investment   account
                     on the afternoon    of 7/22/22,   so progress started the following   business day.




                                                                    Redacted



-starting balance 1500,000.00·
-Current balance *508,455.80.




           21.     This performance update was false. Bank records indicate that only $440,000 of
   A.M.'s investment had been invested in TradeStation as of July 29, 2022. Bank records further
   indicate that some of A.M.'s investment was used for SPENCE'S personal expenses, including
   child support payments, a car payment, and a $5,331.28 Gallery Furniture payment. In addition,
   some of A.M.'s investment was used to pay a previous investor. TradeStation records indicate
   that on July 29, 2022, SPENCE'S account balance was $274,888.82.

          22.   A.M. received multiple statements from SPENCE indicating that his investment
   had grown. Like J.e., A.M. also received "ROJ" payments from SPENCE.

          Additional Investors

          23.    Since opening this investigation, J have learned of other individuals who were
   defrauded by SPENCE. Those investors provided similar accounts of SPENCE's behavior. For
   example, they reported that they were induced to invest large sums of money with AEI. Then,
   they were provided similar "performance updates" demonstrating (falsely) that their investments
   had grown.

          24.     This activity has continued until very recently. For example, I am aware of a
   $100,000 investment that an individual, DP, provided to SPENCE on August 29,2023. Similarly,
   another individual, ZF, transferred at least $86,000 to SPENCE via wire transfers in July and
   August 2023.

          25.    Investors lost money as a result of SPENCE's fraudulent scheme. Although
   SPENCE made some payments to investors (e.g., the "ROJ" payments referenced above), he did
   not have the funds available to pay all of his investors, many of whom have lost significant
   amounts.

                                                                               5
     Case 4:23-cr-00450 Document 1 Filed on 09/26/23 in TXSD Page 7 of 8




        26.     At this time, the investigation is continuing and agents are still attempting to
identify and interview additional individuals who may have been defrauded by SPENCE.

                        SPENCE'S SEPTEMBER 14,2023 INTERVIEW

        27.     On September 14,2023,1 interviewed SPENCE at the Chambers County Jail along
with Mont Belvieu Police Department Detective Kalyn Perry. 1 understand that SPENCE was
being held in custody in connection with a civil contempt proceeding arising out of the lawsuit
styled Crowder v. Spence, Case No. 23-DCV -0266 (Chambers County District Court). Victims
lC. and A.M. are the plaintiffs in that lawsuit. 1 have not reviewed all of the pleadings in that
lawsuit, but 1 understand that SPENCE is due for a hearing in that case on September 27,2023.3

        28.    The interview was recorded utilizing the Chambers County Sheriffs Department's
recording equipment. At approximately 2:50 into the video, SPENCE is advised of his Miranda
rights. He also signed an FD-395 (Advice of Rights) form.

        29.     During the interview, SPENCE admitted that he would not use the entirety of
investor funds for their intended purposes. At around 33:00, he notes that the "majority" of
investor funds would go to TradeStation. Further, at around 37:20 in the interview, SPENCE
notes that he used investor funds to get "all my other stuff taken care of."

       30.     SPENCE also admitted to sending fraudulent statements to investors after losing
their money. At around 33:30 in the interview, SPENCE is asked, "so why send fraudulent
statements to people?" SPENCE responded, "so I could just get them covered[ .. .]" At around
34:10, SPENCE added that he "had to do something different to make up for this." Similarly, at
around 56:15, SPENCE admitted that he would fabricate the investors' purported returns based
on an "equation."

       31.    At around 1:05:40, SPENCE nods his head in the affirmative when he is told "you
knew that you were lying to these people."

        32.    SPENCE also acknowledged that he lied to investors when he stated that he was
registered with the SEC. At around 40:00, SPENCE said that "I did say that to him" and that he
made this representation because of "warm and [uzzies."

       33.      SPENCE acknowledged that he lost investor funds. At around 48:00, he stated,
"I've been trying to get everybody paid back" and "that's my priority right now, it's paying them
back."




        Approximately 50:40 into the interview, SPENCE admits to lying to the court in that litigation
when he stated that he had funds available to repay the plaintiffs. He said, "yes, I did - I didn't want them
locking any more accounts[.]"

                                                      6
    Case 4:23-cr-00450 Document 1 Filed on 09/26/23 in TXSD Page 8 of 8




                                   CRIMINAL CHARGES

        34.     Based on the information described above, I believe that probable cause exists for
the issuance of a Criminal Complaint charging CARL CHANNING SPENCE with (1) one count
of wire fraud (18 U.S.C. § 1343).

                                          Count One
                                 Wire Fraud (18 U.S.C. § 1343)

        35.    On or about July 19, 2022, within the Southern District of Texas and elsewhere,
SPENCE knowingly devised and intended to devise a scheme and artifice to defraud by means of
fraudulent pretenses and representations. Specifically, SPENCE caused Victim A.M. (who
resides in Cove, Texas, within the Southern District) to wire $500,000 from A.M.'s account with
Bank ofAmerica, which is headquartered in North Carolina, to SPENCE's account with Mobiloil
Credit Union, which is headquartered in Texas, such funds moving in interstate commerce in
furtherance of executing the scheme, all in violation of 18 U.S.C. § 1343.

                                                            :;::u�



                                                            Brannon Coker
                                                            Special Agent, FBI

A ttested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone on September 26, 2023.



Honorable Sam S. Sheldon
United States Magistrate Judge




                                                7
